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W.R. GRACE/CLAIMANTS COMMITTEE                                          MATTER:     100055.WRG01

July 18, 2011                                                           INVOICE:            243982

MATTER: CLAIMANTS COMMITTEE                                                ROBERT M. HORKOVICH


c/o Peter Van N. Lockwood, Esq.
Caplin & Drysdale
One Thomas Circle
Washington, DC 20005



                            PROFESSIONAL SERVICES through 06/30/11

 DATE           DESCRIPTION OF SERVICES                                 ACTIVITY   INIT     HOURS
 06/01/11       Begin retrieving cases, statutes and highlighting        W001      AHP        4.40
                quotes per K. Sharperson request in connection
                with Integrity brief.
 06/01/11       Analyzed settlement agreements re:               post    W001       IF        1.90
                confirmation payment issues.
 06/01/11       Work on new cash flow and settlement analysis            W001      MG         4.20
                (3.60); work on insolvent claim (0.60)
 06/01/11       Review and analysis of Integrity Liquidator's            W001      RYC        3.30
                opposition brief in appeal of disallowance of proof
                of claim.
 06/02/11       Continue retrieving and reviewing cases and              W001      AHP        4.20
                statutes, highlighting quotes and prepare two sets
                for R. Chung and K. Sharperson.
 06/02/11       Analyzed settlement agreements re: post-                 W001       IF        1.20
                confirmation payment issues.
 06/02/11       Confer with paralegal re: case citations in              W001      KES        0.30
                preparation of preparing reply brief to Liquidator's
                opposition.
 06/02/11       Work on new cash flow and settlement analysis            W001      MG         5.30
                (3.90); work on insolvent claim (1.40).
 06/02/11       Review and analyze newly received pleadings and          W001      NJB        1.20
                correspondence.
 06/02/11       Research and analysis of issues raised by Integrity      W001      RYC        5.40
                Liquidator's in opposition to appeal of disallowance
                of proof of claim (3.80). Review and analysis of
                recovery options against insolvent insurance
                companies with pending or past due notices of
                disallowance (1.60).




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MATTER: CLAIMANTS COMMITTEE                                                  ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                   ACTIVITY   INIT     HOURS
 06/03/11       Analysis of selected insurance company settlement          W001      GFF        2.40
                agreements and related policies re: post-
                bankruptcy settlement payment issues.
 06/03/11       Analyzed settlement agreements re: post-                   W001       IF        1.90
                confirmation payment issues.
 06/03/11       Work on new cash flow and settlement analysis              W001      MG         4.80
                (4.00); work on insolvent claim (0.80).
 06/03/11       Continue research and analysis of issues raised by         W001      RYC        1.90
                Integrity Liquidator in opposition to appeal of
                disallowance of proof of claim.
 06/05/11       Review brief in anticipation of preparing reply brief      W001      KES        3.10
                (1.90); research insurance insolvency third-party
                claim statutes in order to respond to argument re:
                third-party claims (1.20).
 06/05/11       Research and analysis regarding issues raised in           W001      RYC        1.80
                Integrity Liquidator's appeal opposition brief.
 06/06/11       Continue reviewing time and expense entries.               W011      AHP        1.80
 06/06/11       Attention to and resolution of the potential objection     W011      AHP        0.90
                by the U.S. Trustee.
 06/06/11       Analysis of selected insurance company settlement          W001      GFF        2.30
                agreements and related policies re: post-
                bankruptcy settlement payment issues.
 06/06/11       Analyzed settlement agreements re: post-                   W001       IF        1.90
                confirmation payment issues.
 06/06/11       Additional review of Respondent's brief in                 W001      KES        5.40
                anticipation of preparing appellate reply brief (1.70);
                continue preparation of appellate reply brief (3.70).
 06/06/11       Work on new cash flow and settlement analysis              W001      MG         4.90
                (3.10); work on insolvent claim (1.80).
 06/06/11       Attention to insurance asset valuation (0.50).             W001      RMH        0.70
                Attention to insolvent insurance company claim
                (0.20).
 06/06/11       Attention to Trustee's inquiries regarding fee             W011      RYC        0.40
                application.
 06/07/11       Review changes, make additional revisions, proof           W011      AHP        2.80
                and begin drafting monthly fee application.




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MATTER: CLAIMANTS COMMITTEE                                                 ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                  ACTIVITY   INIT     HOURS
 06/07/11       Discussion with A. Pelton re: fee application             W011      DJN        0.30
                procedures.
 06/07/11       Analysis of selected insurance company settlement         W001      GFF        1.60
                agreements and related policies re: post-
                bankruptcy settlement payment issues.
 06/07/11       Update insolvent recovery spreadsheets per R.             W001      HEG        2.80
                Horkovich request.
 06/07/11       Reviewed and updated information re: solvent and          W001       IF        1.60
                insolvent valuation information.
 06/07/11       Reviewed settlement agreements re: post-                  W001       IF        1.30
                confirmation payment issues.
 06/07/11       Continue preparation of appellate reply brief (3.60);     W001      KES        6.30
                additional research for case law to support
                argument re: legislative intent for insolvency statute
                (1.30); review and analyze case law (1.40).
 06/07/11       Work on new cash flow and settlement analysis             W001      MG         5.10
                (3.00); work on insolvent claim (2.10).
 06/07/11       Attention to insurance asset valuation (2.60).            W001      RMH        3.10
                Attention to claim against insolvent insurance
                company (0.50).
 06/07/11       Research and analysis regarding issues raised in          W001      RYC        3.20
                Integrity Liquidator's appeal opposition brief.
 06/08/11       Analysis of selected insurance settlement                 W001      GFF        2.20
                agreements and related policies re: post-
                bankruptcy settlement payment issues.
 06/08/11       Continued review and edits to Insolvent Recovery          W001      HEG        3.20
                Status spreadsheets per R. Horkovich request.
 06/08/11       Reviewed and updated information re: insolvent            W001       IF        1.90
                insurance companies valuations.
 06/08/11       Analyzed settlement agreements re: payment                W001       IF        1.20
                issues post confirmation.
 06/08/11       Legal research re: standard of review and In re:          W001      KES        8.10
                Integrity case in anticipation of reply (1.80);
                continue preparation of reply brief to overturn
                December 3, 2010 order (6.30).




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MATTER: CLAIMANTS COMMITTEE                                              ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                               ACTIVITY   INIT     HOURS
 06/08/11       Work on new claim valuations and email R.              W001      MG         5.20
                Horkovich re: same (2.30); work on new cash flow
                and settlement analysis (2.40); work on insolvent
                claim (0.50).
 06/08/11       Calculation of insurance asset valuation.              W001      RMH        4.80
 06/08/11       Research and analysis regarding potential              W001      RYC        5.20
                impediments to coverage in connection with
                scheme arrangements of insolvent London
                insurance companies (1.70). Follow-up research
                and analysis regarding issues raised in Integrity
                Liquidator's appeal opposition brief (2.50).
                Attention to allocation issues in connection with
                specific high-level insolvent insurance companies
                (1.00).
 06/09/11       Prepare exhibits for K. Sharperson per Appellate       W001      DL         1.40
                Division rules in connection with Integrity appeal.
 06/09/11       Analysis of selected insurance settlement              W001      GFF        2.40
                agreements and related policies re: post-
                bankruptcy settlement payment issues.
 06/09/11       Research, review, organize and circulate insolvent     W001      HEG        2.20
                proof-of-claim submission materials.
 06/09/11       Analyzed settlement agreements re: payment             W001       IF        1.20
                issues post confirmation.
 06/09/11       Meeting with insolvent insurance company re:           W001       IF        1.20
                proposed scheme of arrangement information,
                submissions and payments.
 06/09/11       Continue preparation of reply brief (1.70); revise     W001      KES        3.40
                and edit reply brief (1.30); communication with R.
                Chung re: brief strategy (0.40).
 06/09/11       Meeting with representatives of an insolvent           W001      MG         4.30
                London Market Insurance Company regarding
                proof of claim (1.30); work on new cash flow and
                settlement analysis with new claim valuations
                (3.00).
 06/09/11       Edit insurance asset valuation memo (2.00).            W001      RMH        3.60
                Meeting with representatives of London &
                Overseas Insurance Company and Orion Insurance
                Company regarding proof of claim (1.60).



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MATTER: CLAIMANTS COMMITTEE                                                   ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                    ACTIVITY   INIT     HOURS
 06/09/11       Draft W.R. Grace Reply Memo of law to overturn              W001      RYC        6.10
                order of trial court affirming decision of the Integrity
                Special Master (4.20). Review and analysis for
                submissions to certain insolvent insurance
                companies without pending proofs of claim (0.40).
                Prepare      for    and      attend    meeting     with
                representatives of London Market Companies
                Orion and London & Overseas to discuss
                insolvents' plans regarding a proposed insolvent
                Scheme of Arrangement and subsequent review of
                materials for early review of claims (1.50).
 06/10/11       Analyzed settlement agreements re: payment                  W001       IF        0.90
                issues post confirmation.
 06/10/11       Prepare Appendix in support of reply brief.                 W001      KES        1.00
 06/10/11       Work on new cash flow and settlement analysis               W001      MG         4.20
                with new claim valuations.
 06/10/11       Edit appellate brief regarding Integrity disallowance       W001      RMH        2.10
                of claim.
 06/10/11       Revise Reply Memo of law to overturn order of trial         W001      RYC        5.70
                court affirming decision of the Integrity Special
                Master (5.30). Attention to allocation issues in
                connection with certain insolvent insurance
                companies without pending proofs of claim (0.40).
 06/10/11       Review and comment upon fee application.                    W011      RYC        0.60
 06/12/11       Attention to appellate reply brief.                         W001      KES        0.40
 06/12/11       Revise Reply Memo of Law regarding Integrity in             W001      RYC        5.60
                connection with appeal of trial court's approval of
                special master's recommendation.
 06/13/11       Appellate Reply Brief:         review brief, table of       W001      AHP        4.40
                contents, table of authorities, cite check and proof
                read per R. Chung and K. Sharperson instructions.
 06/13/11       Minor revisions to time and expense entries,                W011      AHP        1.40
                finalize monthly fee application.
 06/13/11       Analyzed settlement agreements re: post                     W001       IF        1.40
                confirmation payment issues and availability of
                coverage.




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MATTER: CLAIMANTS COMMITTEE                                                 ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                  ACTIVITY   INIT     HOURS
 06/13/11       Review and revise reply appellate brief per               W001      KES        2.30
                comments of R. Chung (2.10); communication with
                R. Chung re: same (0.20).
 06/13/11       Work on new cash flow and settlement analysis             W001      MG         2.20
                with new claim valuations.
 06/13/11       Finalize Reply Memo of Law regarding Integrity            W001      RYC        4.80
                including incorporation of comments from plan
                proponents.
 06/14/11       Analysis of selected insurance company settlement         W001      GFF        1.90
                agreements      re:    post-bankruptcy    settlement
                payment issues.
 06/14/11       Research re: insolvent proof-of-claim requested by        W001      HEG        2.20
                R. Chung.
 06/14/11       Analyzed settlement agreements re: payment                W001       IF        2.10
                issues post confirmation plan order.
 06/14/11       Work on new cash flow and settlement analysis             W001      MG         4.80
                with new claim valuations (3.30); work on insolvent
                claims (1.50).
 06/14/11       Follow-up regarding post-briefing issues in               W001      RYC        3.40
                connection with proof of claim appeal in Integrity
                Liquidation (0.80).      Research and analysis in
                connection     with     responding    to    historical
                disallowance of claim in insurance company
                insolvencies (2.60).
 06/15/11       Review newly received documents, update                   W011      AHP        0.80
                monitoring chart.
 06/15/11       Analysis of selected insurance policies re: appeal        W001      GFF        2.10
                issues (1.70); draft and revise insurance policy data
                spreadsheets (0.40).
 06/15/11       Continued research and preparation of proof-of-           W001      HEG        2.30
                claim packages for certain historic insolvent
                insurers.
 06/15/11       Analyzed insurance policies re: insurance company         W001       IF        2.20
                post confirmation appeal issues.
 06/15/11       Work on new cash flow and settlement analysis             W001      MG         5.10
                with new claim valuations (3.30); work on insolvent
                claims (1.80).




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MATTER: CLAIMANTS COMMITTEE                                                ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                 ACTIVITY   INIT     HOURS
 06/15/11       Research and analysis regarding responses to             W001      RYC        3.70
                insurance coverage defenses raised in historical
                disallowance of claims.
 06/16/11       Analysis of selected insurance policies re: appeal       W001      GFF        2.10
                issues (1.80); draft and revise insurance policy data
                spreadsheets (0.30).
 06/16/11       Analyzed insurance policies re: issues from appeal.      W001      IF         2.20
 06/16/11       Work on new cash flow and settlement analysis            W001      MG         4.10
                with new claim valuations.
 06/16/11       Attention to indexing and updating of case               W001      NJB        0.80
                materials.
 06/16/11       Prepare responses to insurance coverage defenses         W001      RYC        3.40
                raised in historical disallowance of claims (1.60).
                Prepare proof of claim to Protective National based
                upon NY Insurance Law 7432(c) (1.80).
 06/17/11       Analysis of selected insurance policies re: appeals      W001      GFF        2.80
                issues (2.60); draft and revise insurance policy data
                spreadsheets (.20).
 06/17/11       Analyzed insurance policies re: appeal issues            W001       IF        2.10
                raised by insurance companies.
 06/17/11       Work on new cash flow and settlement analysis            W001      MG         5.20
                with new claim valuations (2.00); work on insolvent
                claims (3.20).
 06/17/11       Revise proposed letter to Protective National            W001      RYC        3.90
                submitting post-deadline Proofs of Claim pursuant
                to NY Insurance Law Section 7432(c) (2.70).
                Research regarding insurance coverage defenses
                raised by Ideal Mutual (1.20).
 06/19/11       Revise proposed letter and supplements to                W001      RYC        2.20
                Protective National in connection with submission
                of post-deadline Proofs of Claim pursuant to NY
                Insurance Law Section 7432(c).
 06/20/11       Analysis of selected insurance policies re: appeals      W001      GFF        2.10
                issues (1.80); draft and revise insurance policy data
                spreadsheets (0.30).
 06/20/11       Analyzed insurance policies re: insurance company        W001       IF        1.90
                appeal issues.




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MATTER: CLAIMANTS COMMITTEE                                              ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                               ACTIVITY   INIT     HOURS
 06/20/11       Work on new cash flow and settlement analysis          W001      MG         4.20
                with new claim valuations (2.00); work on insolvent
                claims (2.20).
 06/20/11       Research      and    analysis    of   supplemental     W001      RYC        2.70
                documentation for post-deadline proof of claim
                submission letter.
 06/21/11       Analysis of selected insurance policies re: appeals    W001      GFF        1.80
                issues.
 06/21/11       Research re: London Market scheme company              W001      HEG        3.30
                CAMAT       (1.00);   research    and    reproduce
                Reorganization Plan Modification sets as part of
                POC submission request (2.30).
 06/21/11       Reviewed information provided by CUAL and Pro-         W001       IF        1.60
                Insurance Solutions in response to our Proof of
                Claim for C.A.M.A.T.
 06/21/11       Analyzed insurance policies re: insurance company      W001       IF        2.70
                appeal issues.
 06/21/11       Review and analyze London scheme offer, and            W001      MG         5.20
                draft email recommendation to R. Horkovich re:
                same.
 06/21/11       Review draft proof of claim submission, review         W001      MG         2.20
                protocols and email R. Chung and H. Gershman re:
                same.
 06/21/11       Research and analysis regarding revised claim          W001      RYC        3.20
                values for future proof of claim and settlement
                proposals (2.20).        Revise proof of claim
                supplements      in   connection    with    updated
                bankruptcy and allocation documentation (1.00).
 06/22/11       Analysis of selected insurance policies re: appeals    W001      GFF        2.10
                issues.
 06/22/11       Continued review and reproduction of most recent       W001      HEG        3.20
                Plan Reorganization Modifications for POC
                submission requests.
 06/22/11       Analyzed insurance policies re: appeal issues          W001       IF        1.90
                raised by insurance companies.
 06/22/11       Prepare revisions to proof of claim submissions,       W001      RYC        2.80
                underlying documentation, and allocation of future
                claims.



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MATTER: CLAIMANTS COMMITTEE                                                ROBERT M. HORKOVICH

 DATE           DESCRIPTION OF SERVICES                                 ACTIVITY   INIT     HOURS
 06/23/11       Analysis of selected insurance policies re: appeals      W001      GFF        1.60
                issues (1.20); draft and revise insurance policy data
                spreadsheets (0.40).
 06/23/11       Continued review and reproduction of most recent         W001      HEG        2.70
                Plan Reorganization Modifications for POC
                submission requests.
 06/23/11       Analyzed insurance policies re: issues raised by         W001       IF        1.90
                insurance companies in appeals.
 06/23/11       Attention to updating and organization of new case       W001      NJB        1.00
                files.
 06/23/11       Research and analysis in connection with response        W001      RYC        4.60
                to past insurance claims denials based upon forty
                specific defenses raised by Liquidator for insolvent
                insurance company and review potential recovery
                under NY Insurance Law Section 7432(c).
 06/24/11       Analysis of selected insurance policies re:              W001      GFF        2.10
                insurance company appeal issues.
 06/24/11       Continued document review, reproduction and              W001      HEG        2.60
                organization in support of proposed insolvent proof
                of claim submissions.
 06/24/11       Analyzed insurance policies re: appeal issues            W001       IF        2.10
                raised by insurance companies.
 06/24/11       Work on new cash flow and settlement analysis            W001      MG         3.80
                with new claim valuations (1.60); work on insolvent
                claims (2.20).
 06/24/11       Continue to prepare responses to past insurance          W001      RYC        3.80
                claims denials based upon forty specific defenses
                raised by Liquidator for insolvent insurance
                company and review potential recovery under NY
                Insurance Law Section 7432(c).
 06/25/11       Research and prepare response to defenses raised         W001      RYC        1.30
                by Liquidator for insolvent insurance company.
 06/27/11       Analysis of selected insurance policies re: appeals      W001      GFF        1.80
                issues of insurance companies.
 06/27/11       Continued coordination and reproduction of plan          W001      HEG        2.40
                modifications and additional documentation as part
                of insolvent scheme submissions.




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 DATE            DESCRIPTION OF SERVICES                                ACTIVITY   INIT     HOURS
 06/27/11        Reviewed status of obtaining needed information         W001       IF        0.90
                 for Midland audit re: Grace Asbestos Claim.
 06/27/11        Analyzed insurance policies re: appeal issues           W001       IF        1.80
                 raised by insurance companies.
 06/27/11        Work on insolvent claim and emails re: same.            W001      MG         2.40
 06/27/11        Attention to co-operating with the audit of 237         W001      RMH        0.70
                 claims by W.R. Grace requested by the Midland
                 Insurance Company regarding our $45.2 million
                 claim and communication with W.R. Grace counsel
                 and with Midland re: same.
 06/27/11        Research and prepare response to multiple               W001      RYC        3.20
                 defenses raised by Liquidator for insolvent
                 insurance company.
 06/28/11        Analysis of selected insurance policies re:             W001      GFF        2.10
                 insurance company appeals issues.
 06/28/11        Research re: Orion/London and Overseas available        W001      HEG        1.30
                 limits.
 06/28/11        Analyzed insurance policies re: appeal issues           W001       IF        1.40
                 raised by insurance companies.
 06/28/11        Work on new cash flow and settlement analysis           W001      MG         2.60
                 with new claim valuations.
 06/28/11        Continue research and prepare response to               W001      RYC        2.40
                 multiple defenses raised by Liquidator for insolvent
                 insurance company.
 06/29/11        Analysis of selected insurance policies re:             W001      GFF        2.30
                 insurance company appeals issues (1.90); draft
                 and revise insurance policy data spreadsheets
                 (0.40).
 06/29/11        Reviewed Midland status information.                    W001       IF        0.80
 06/29/11        Analyzed insurance policies re: insurance               W001       IF        1.70
                 companies' appeal issues.
 06/29/11        Work on insolvent claim and emails re: same.            W001      MG         2.60
 06/29/11        Attention to $45.2 million claim against Midland.       W001      RMH        0.60
 06/29/11        Follow-up regarding potential early resolution of       W001      RYC        2.30
                 issues with insolvent insurance carrier, including
                 analysis of documentation issues for support of
                 claims.



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MATTER: CLAIMANTS COMMITTEE                                               ROBERT M. HORKOVICH

 DATE            DESCRIPTION OF SERVICES                               ACTIVITY   INIT     HOURS
 06/30/11        Analysis of selected insurance policies re: appeals    W001      GFF          1.90
                 issues of insurance companies (1.60); draft and
                 revise insurance policy data spreadsheets (0.30).
 06/30/11        Analyzed insurance policies re: insurance company      W001       IF          1.90
                 appeal issues.
 06/30/11        Work on new cash flow and settlement analysis          W001      MG           3.20
                 with new claim valuations.

TOTAL FEES:                                                                             $173,067.00




{D0208600.1 }
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Anderson Kill & Olick, P.C.
1251 Avenue of the Americas, New York, New York 10020-1182
(212) 278-1000                            EIN: XX-XXXXXXX
E-Mail: Accounting@andersonkill.com
                                                                                    Page 12

W.R. GRACE/CLAIMANTS COMMITTEE                                  MATTER:    100055.WRG01

July 18, 2011                                                   INVOICE:             243982

MATTER: CLAIMANTS COMMITTEE                                        ROBERT M. HORKOVICH



                                       FEE SUMMARY

                                          RATE       HOURS                          TOTALS
 Arline H Pelton                         250.00         20.70                    5,175.00
 Daryl Lyew                              250.00          1.40                      350.00
 Dennis J. Nolan                         445.00          0.30                      133.50
 Glenn F Fields                          345.00         37.60                   12,972.00
 Harris E Gershman                       275.00         28.20                    7,755.00
 Izak Feldgreber                         295.00         46.80                   13,806.00
 Kenneth E. Sharperson                   530.00         30.30                   16,059.00
 Mark Garbowski                          590.00         85.60                   50,504.00
 Nicholas J Balsdon                      215.00          3.00                      645.00
 Robert M Horkovich                      895.00         15.60                   13,962.00
 Robert Y Chung                          595.00         86.90                   51,705.50
 TOTAL FEES:                                                                  $173,067.00




{D0208600.1 }
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W.R. GRACE/CLAIMANTS COMMITTEE                                        MATTER:    100055.WRG01

July 18, 2011                                                         INVOICE:             243982

MATTER: CLAIMANTS COMMITTEE                                              ROBERT M. HORKOVICH


                            SUMMARY OF SERVICES BY ACTIVITY

                                    THIS BILLING PERIOD

ACTIVITY CODE: W001           Asset Analysis and Recovery
                                                         HOURS                            TOTALS
 Arline H Pelton                                              13.00                    3,250.00
 Daryl Lyew                                                    1.40                      350.00
 Glenn F Fields                                               37.60                   12,972.00
 Harris E Gershman                                            28.20                    7,755.00
 Izak Feldgreber                                              46.80                   13,806.00
 Kenneth E. Sharperson                                        30.30                   16,059.00
 Mark Garbowski                                               85.60                   50,504.00
 Nicholas J Balsdon                                            3.00                      645.00
 Robert M Horkovich                                           15.60                   13,962.00
 Robert Y Chung                                               85.90                   51,110.50
 TOTAL:                                                      347.40                 $170,413.50


ACTIVITY CODE: W011           Fee Applications (Applicant)
                                                         HOURS                            TOTALS
 Arline H Pelton                                               7.70                       1,925.00
 Dennis J. Nolan                                               0.30                         133.50
 Robert Y Chung                                                1.00                         595.00
 TOTAL:                                                        9.00                   $2,653.50




{D0208600.1 }
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W.R. GRACE/CLAIMANTS COMMITTEE                                 MATTER:       100055.WRG01

July 18, 2011                                                  INVOICE:               243982

MATTER: CLAIMANTS COMMITTEE                                          ROBERT M. HORKOVICH


                                      COSTS through 06/30/11

    DATE          DESCRIPTION OF COSTS                                            AMOUNT
  06/03/11        AIRFREIGHT- VENDOR: FEDEX 1540-4201-6 Inv.#         E107             11.74
                  743043992 Airfreight expenses
  06/03/11        AIRFREIGHT- VENDOR: FEDEX 1540-4201-6 Inv.#         E107             11.74
                  743043992 Airfreight expenses
  06/03/11        AIRFREIGHT- VENDOR: FEDEX 1540-4201-6 Inv.#         E107             11.74
                  743043992 Airfreight expenses
  06/03/11        AIRFREIGHT- VENDOR: FEDEX 1540-4201-6 Inv.#         E107             11.74
                  743043992 Airfreight expenses
  06/27/11        CourtCall LLC Refund - Inv#3826005                                  (30.00)

TOTAL COSTS:                                                                          $16.96

 WORK DESCRIPTION                                                                 AMOUNT
 AF             AIRFREIGHT                                                              46.96
 TE             AP - TELEPHONE -                                                      (30.00)
                TOTAL COSTS:                                                          $16.96

                                   TOTAL DUE:                                   $173,083.96




{D0208600.1 }
